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                     IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF OREGON


 UNITED STATES OF AMERICA,
                                                     Case No. 3:18-cr-00319-JO-1
       Plaintiff,

 v.                                                  NOTICE OF APPEARANCE

 MARK DENCKLAU, et al.,

       Defendant.


      TO THE COURT AND ALL PARTIES: Please take notice that Scott Leonard
represents Mr. Mark Dencklau as co-counsel along with Mr. Erik Eklund and Ms. Lisa
Ludwig. Please send all notices, pleadings, and correspondence to Mr. Leonard, in
addition to Mr. Eklund and Ms. Ludwig, to the following address:


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      Respectfully submitted this 4th day of February, 2020.

                                         /s/ Scott Leonard
                                        Scott Leonard, OSB No. 074761
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